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                                  November 15, 2024

VIA ELECTRONIC FILING
Catherine O’Hagan Wolfe, Clerk
United States Court of Appeals
  for the Second Circuit
Thurgood Marshall United
  States Courthouse
40 Foley Square
New York, New York 10007

       Re: Post-argument letter brief in Zherka v. Garland, No. 22-
           1108, regarding Antonyuk v. James, Nos. 22-2908(L), 22-
           2972(Con).

Dear Ms. Wolfe,

       We submit this letter brief, per the Court’s order of June 26, 2024, to address

how this Court’s decision in Antonyuk v. James, Nos. 22-2908(L), 22-2972(Con),

2023 WL 11963034 (2d Cir. Oct. 24, 2024), bears on this case. Antonyuk is entirely

consistent with Zherka’s argument in his post-Rahimi letter brief: Section

922(g)(1) cannot constitutionally be applied to an individual whose only prior con-

victions were for nonviolent crimes, because the historical principles underlying

the Second Amendment indicate that only individuals who have been shown to be

dangerous can be disarmed. See Zherka Ltr. Br., Doc. 159 at 3 (July 19, 2024).
Catherine O’Hagan Wolfe
November 15, 2024
Page 2 of 6

      As relevant here, Antonyuk, on a preliminary record and against a facial chal-

lenge, declined in part to enjoin New York’s handgun permitting regime, which

contains a “character requirement,” providing that “[n]o license shall be issued or

renewed except for an applicant … of good moral character.” 2023 WL 11963034,

at *23 (quoting N.Y. Penal L. § 400.00(1)(b)). In finding that requirement likely

constitutional, the Second Circuit first rejected the State’s argument that the re-

quirement was categorically constitutional in all applications because it targeted

“only [] those individuals who do not have Second Amendment rights in the first

place: the irresponsible” or those who are not “law-abiding” or “ordinary.” 2023

WL 11963034, at *24. Calling this argument, “at best, a controversial supposition,”

the Court did not ultimately resolve the issue, but noted that “the Fifth Circuit, the

Third Circuit en banc, and then-Judge Barrett in the Seventh Circuit” have all re-

jected that position. Id. (citing Kanter v. Barr, 919 F.3d 437, 453 (7th Cir. 2019)

(Barrett, J., dissenting); Range v. Att’y Gen., 69 F.4th 96, 101–03 (3d Cir. 2023)

(en banc), granted, vacated, and remanded, 144 S. Ct. 2706 (2024) (Mem.);

United States v. Rahimi, 61 F.4th 443, 451–53 (5th Cir. 2023), rev’d and re-

manded on other grounds, 144 S. Ct. 1889 (2024)).

      As Zherka noted in his post-Rahimi brief, the Government has made the

same argument here. See Zherka Ltr. Br. at 5–6. But at least as to the “responsi-

ble/irresponsible” labels, the Supreme Court has definitively rejected the idea that
Catherine O’Hagan Wolfe
November 15, 2024
Page 3 of 6

such a “vague” standard can deprive entire classes of Americans of their constitu-

tional rights. Rahimi, 144 S. Ct. at 1903; see also Antonyuk, 2023 WL 11963034,

at *24 n.26. Though it classed the discussion in Rahimi as dictum, Antonyuk

stressed that this Court is not free to “disregard it, any more than we may disregard

the portion of the Bruen majority’s historical analysis that went beyond what was

necessary to decide the case.” 2023 WL 11963034, at *25 n.30. Antonyuk’s refusal

to adopt the Government’s argument that individuals who are not “law-abiding” or

“ordinary” can be entirely excluded from the text of the Second Amendment, was

necessary in order to comply with this language from Rahimi. Indeed, as Zherka

has previously explained, “law-abiding” is treated precisely the same as “responsi-

ble” in the Supreme Court’s Second Amendment precedent. See Zherka Ltr. Br. at

6. And all the concerns about vagueness and overbreadth of the “responsible” label

apply to “law-abiding” and “ordinary.” There is simply no warrant in either consti-

tutional text or our nation’s history to find that individuals who are not “ordinary”

or “law-abiding” fall outside of the protective scope of the Second Amendment.

Rahimi and Antonyuk both spell the end for the Government’s textual arguments

in this case.

      Turning to history, consistent with Rahimi, there is just one historical prin-

ciple that supports disarming an individual on account of a prior criminal convic-

tion: when that prior conviction demonstrates the individual “poses a clear threat
Catherine O’Hagan Wolfe
November 15, 2024
Page 4 of 6

of physical violence to another.” Rahimi, 144 S. Ct. at 1901. As the Supreme Court

has explained, the Second Amendment rule in this regard is no different than

“what common sense suggests.” Id. It stands to reason that if “the Second Amend-

ment codifies a pre-existing right to keep and bear arms for self-defense in case of

confrontation,” Antonyuk, 2023 WL 11963034, at *8, then the Second Amendment

permits disarmament of those people against whom ordinary individuals may need

to defend themselves. But that rationale does not extend to cover any individual

who has broken a law completely unrelated to violence or the threat of violence,

like Zherka, any more than it extends to justify disarmament of those who are “ir-

responsible.” After all, nonviolent former felons, just like irresponsible people,

have the same fundamental right to defend themselves as anyone else.

      Antonyuk is entirely consistent with this reasoning. In ultimately upholding

the character requirement, the Second Circuit stressed that the challenge before it

was a facial one, meaning that the plaintiffs had to show that there was no set of

circumstances in which inquiring as to an individual’s character could be relevant

to whether that individual was constitutionally entitled to carry a firearm for self-

defense. Id. at *25. Again eschewing the State’s invitation to base its decision upon

any broader basis, the Court found that the “character requirement” would, at

least, be constitutional if used to deny a permit to an individual who, “if permitted

to wield a lethal weapon, would pose a danger to himself, to others, or to public
Catherine O’Hagan Wolfe
November 15, 2024
Page 5 of 6

safety,” stressing that “dangerousness is the core of New York’s character require-

ment,” and that denying an application “to an individual deemed likely to pose

such a danger … would clearly fall within the historical tradition of preventing dan-

gerous individuals from carrying guns.” Id. at *25–26. The Court emphasized that

it was not precluding the possibility of future as-applied challenges, and it cau-

tioned that permit denials, based on the character requirement, “may well be

deemed arbitrary” where they were not specifically tied to “the applicant’s untrust-

worthiness to carry a gun without endangering the safety of himself or others.” Id.

at *27. Under this same reasoning, Zherka’s lifelong firearms disability is uncon-

stitutional. His status as a former felon is entirely unmoored from any risk of his

using a firearm to endanger the safety of himself or others. Under Antonyuk, as

under Bruen and Rahimi, the Court should hold Section 922(g)(1) unconstitu-

tional as-applied to Zherka.



                                          Sincerely,

                                          s/Peter A. Patterson
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Catherine O’Hagan Wolfe
November 15, 2024
Page 6 of 6

                                        Attorney for Appellant



cc : All counsel of record via CM/ECF
